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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

TILLMAN TORAO TOPPING AND                        §
GENENE L. TOPPING,                               §
                                                 §
       Plaintiffs,                               §
                                                 §
v.                                               §            Civil Action No. 5:22-cv-367-FB
                                                 §
CENLAR FSB,                                      §
                                                 §
       Defendant.                                §

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs Tillman Torao Topping and Genene L. Topping (“Plaintiffs”) and Defendant

Cenlar FSB (“Defendant”) (collectively the “Parties”), by and through their undersigned counsel,

hereby stipulate and agree that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all

claims and causes of action asserted or that could have been asserted by Plaintiffs against

Defendant are hereby dismissed with prejudice.

                                            Respectfully submitted,

                                            By:      /s/ Shelley L. Hopkins
                                                     Shelley L. Hopkins
                                                     State Bar No. 24036497
                                                     HOPKINS LAW, PLLC
                                                     3 Lakeway Centre Ct., Suite 110
                                                     Austin, Texas 78734
                                                     (512) 600-4320
                                                     BARRETT DAFFIN FRAPPIER
                                                     TURNER & ENGEL, LLP - Of Counsel
                                                     ShelleyH@bdfgroup.com
                                                     shelley@hopkinslawtexas.com

                                                     Robert D. Forster, II
                                                     State Bar No. 24048470
                                                     BARRETT DAFFIN FRAPPIER
                                                     TURNER & ENGEL, LLP
                                                     4004 Belt Line Road, Ste. 100


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                                           Addison, Texas 75001
                                           (972) 386-5040
                                           RobertFO@bdfgroup.com

                                           ATTORNEYS FOR DEFENDANT

                                     By:   /s/ Nathan C. Cace
                                           Nathan C. Cace
                                           State Bar No. 24055246
                                           6609 Blanco Road, Suite 235
                                           San Antonio, Texas 78216
                                           Tel: (210) 874-2223
                                           Fax: (210) 579-2023
                                           nathan@cacelaw.com

                                           ATTORNEYS FOR PLAINTIFFS




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